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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

DARELTECH, LLC,                               §
                                              §
                      Plaintiff,              §       Civil Case No. 4:18-cv-00702-ALM
                                              §
               v.                             §       JURY TRIAL DEMANDED
                                              §
SAMSUNG ELECTRONICS CO., LTD.                 §
and SAMSUNG ELECTRONICS                       §
AMERICA, INC.                                 §
                                              §
                      Defendants.             §

       DEFENDANTS’ NOTICE OF COMPLIANCE WITH EDTX DISCLOSURE
           REQUIREMENTS UNDER APPRENDIX B: PATENT RULES


       Defendants Samsung Electronics Co. Ltd. and Samsung Electronics America, Inc. hereby

notify the Court of their compliance with Local Patent Rules 3-3, 3-4, and 4-1.

       1) Defendants served Plaintiff with their Invalidity Contentions and Accompanying

           Document Production on August 30, 2019.

       2) Defendants also served Plaintiff with their Proposed Terms for Construction on

           September 3, 2019.


                                             Respectfully submitted,


                                             _/s/ Roger Sanders_____
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                                             -and-

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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document has
been forwarded to all parties to this matter via the electronic delivery system of the Eastern
District of Texas, Sherman Division.

       So certified on this 6th day of September, 2019.

                                                           /s/ Roger Sanders
                                                     Roger D. Sanders




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